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                                          No. 22-6074


                      UNITED STATES COURT OF APPEALS
                          FOR THE TENTH CIRCUIT


                 PHARMACEUTICAL CARE MANAGEMENT ASSOCIATION,
                                                                     Plaintiff-Appellant,
                                              v.
  GLEN MULREADY, in his official capacity as Insurance Commissioner of Oklahoma,
                  and OKLAHOMA INSURANCE DEPARTMENT,
                                                                    Defendants-Appellees.

                     On appeal from the United States District Court
                         for the Western District of Oklahoma
                              The Hon. Bernard M. Jones
                                   No. 5:19-cv-977-J


                            MOTION TO STAY THE MANDATE

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        On August 15, 2023, this Court held that four provisions of Oklahoma’s Patient’s

 Right to Pharmacy Choice Act are preempted by the Employee Retirement Income

 Security Act (ERISA), and that one such provision was preempted by Medicare Part D.

 Defendants moved for en banc rehearing on September 13, 2023. That motion was

 denied on December 12, 2023. For the following reasons, Defendants now move to

 stay the mandate pending an appeal to the Supreme Court. See FED. R. APP. P. 41(d)(1).

        A circuit court may stay the mandate pending the filing of a petition for certiorari

 if “the petition would present a substantial question” and “there is good cause for a

 stay.” FED. R. APP. P. 41(d)(1). This Court has added that a stay “in a civil case will not

 be granted unless the court finds there is a substantial possibility that a petition for writ

 of certiorari would be granted.” 10th Cir. R. 41.1(B). The Supreme Court, in turn,

 evaluates certiorari petitions in part for whether a “court of appeals has entered a

 decision in conflict with the decision of another . . . court of appeals on the same

 important matter,” and whether a “court of appeals has decided an important question

 of federal law that has not been, but should be, settled by this Court, or has decided an

 important federal question in a way that conflicts with relevant decisions of this Court.”

 SUP. CT. R. 10(a), (c).

        As explained in Defendants’ motion for en banc rehearing, this case presents

 important preemption questions on which there is a substantial possibility that certiorari
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 would be granted. Most critical here, there are several acknowledged circuit splits.1

 Specifically, this Court expressly split from the Eighth Circuit’s decision in PCMA v.

 Wehbi, 18 F.4th 956 (8th Cir. 2021), on both the scope of ERISA preemption and the

 proper analysis to use for Medicare Part D preemption. Discussing the “Probation

 Prohibition,” see Op. at 10 n.1, this Court observed that “[t]hough Wehbi’s conclusion”

 on a similar North Dakota regulation “aligns with Oklahoma and the United States’

 recommended result, we find Wehbi’s limited reasoning unhelpful here.” Op. at 37–38.

 This Court reached the opposite conclusion from Wehbi, holding that the Oklahoma

 provision was preempted. As for Medicare Part D, this Court openly “disagree[d] with

 the [Wehbi] court’s fastidious approach . . . .” Op. at 49.

        These circuit disagreements do not guarantee a grant of certiorari, of course. But

 a “guarantee” is not the standard, nor could it be, given the Supreme Court’s well-

 known selectiveness in taking cases. Rather, Defendants must demonstrate a

 “substantial possibility,” and nothing more. And this Court and others have at times

 indicated, albeit in different contexts, that the phrase “substantial possibility” sets a low

 bar. See, e.g., Beachum v. Tansy, 903 F.2d 1321, 1330 (10th Cir. 1990) (“The record suggests

 no substantial possibility that the court would have granted a defense motion to



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  Defendants have also argued that this Court’s decision conflicts with prior opinions
 of the Supreme Court—in particular, Rutledge v. PCMA, 592 U.S. 80 (2020). This Court
 disagrees. Thus, although Defendants maintain that a conflict exists, for this motion
 Defendants focus primarily on the existence of circuit splits, the existence of which was
 acknowledged by the Court in its opinion.
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 suppress the voice identification whether filed after or before the preliminary hearing.

 Due process does not require the rote performance of futile exercises.”); Gray-

 McNamara v. Fifield, No. CIV.A. 00-2177A, 2007 WL 2892002, at *2 (Mass. Super. Sept.

 6, 2007) (observing that a “frivolous position” is one where “there is no substantial

 possibility that a tribunal would accept it” (emphasis added) (quoting Restatement (Third)

 of the Law Governing Lawyers § 110 cmt. d)). Logically, the standard must be

 significantly less than the “likelihood of success” standard found in the preliminary

 injunction context, or else a stay of the mandate would never issue at all.

        In any event, in addition to the circuit splits, it must also be considered that the

 Supreme Court has repeatedly taken up the question of ERISA preemption in the past

 40 years. See, e.g., Gobeille v. Liberty Mut. Ins., 577 U.S. 312 (2016); Egelhoff v. Egelhoff, 532

 U.S. 141 (2001); Calif. Div. of Labor Standards Enforcement v. Dillingham Const., 519 U.S.

 316 (1997); De Buono v. NYSA-ILA Medical and Clinical Services Fund, 520 U.S. 806 (1997);

 N.Y. St. Conf. of Blue Cross & Blue Shield Plans v. Travelers Ins., 514 U.S. 645 (1995); Fort

 Halifax Packing Co. v. Coyne, 482 U.S. 1 (1987); Shaw v. Delta Air Lines, 463 U.S. 85 (1983);

 Alessi v. Raybestos-Manhattan, Inc., 451 U.S. 504 (1981). Indeed, it took up ERISA

 questions in the very context of pharmacy benefit managers (PBMs) just three years

 ago. See Rutledge v. PCMA, 592 U.S. 80 (2020). This is not a topic, in other words, that

 the Supreme Court is hesitant to tackle.

        There is also good cause for a stay. Simply put, staying the mandate will uphold,

 pending a petition for certiorari, a multi-year status quo that Oklahoma has invested
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 substantial resources in and that PCMA and this Court had a significant hand in

 allowing in the first place. See McClendon v. City of Albuquerque, 79 F.3d 1014, 1020 (10th

 Cir. 1996) (“The purpose of a stay is to preserve the status quo pending appellate

 determination.”); Houchins v. KQED, Inc., 429 U.S. 1341, 1346 (1977) (Rehnquist, J., in

 chambers) (“[T]he preservation of that status quo is an important factor favoring a stay.

 This is preferable to forcing the applicant to develop new procedures which might be

 required only for a short period of time.”).

        As a reminder, the district court denied a preliminary injunction back in 2020.

 PCMA then appealed that ruling to this Court and sought an emergency injunction

 pending the appeal—relief this Court denied because PCMA had “not made a sufficient

 showing to warrant imposition of an injunction pending appeal.” Order at 2, August

 17, 2020, PCMA v. Mulready, No. 20-6107. Thus, the Act took effect and Oklahoma

 began enforcing it, expending and re-allocating substantial resources all the while. See,

 e.g., Aplt.App. Vol.1. at 101–02, 122, 129, 138–39.2 And, critically, having been denied

 emergency relief, PCMA then withdrew the broader preliminary injunction appeal before

 any further briefing was conducted. Thus, even if the Court were correct in its current

 holding, it is still the responsibility of PCMA—not Oklahoma—that the status quo is

 what it is. PCMA, that is, made the strategic decision not to maintain its preliminary

 injunction appeal through to the end, where it apparently would have been supported


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  Even more resources have been expended and re-allocated earlier this year, when the
 Oklahoma Legislature shifted enforcement responsibilities to the Attorney General.
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 by this Court. In such circumstances, this Court should not issue the mandate until the

 appellate process has completed. Cf. O Centro Espirita Beneficiente Uniao Do Vegetal v.

 Ashcroft, 389 F.3d 973, 978 (10th Cir. 2004) (Murphy, J., joined in relevant part by Ebel,

 Kelly, O’Brien, Hartz, McConnell, and Tymkovich, concurring in part and dissenting

 in part) (“[A]n injury resulting from a preliminary injunction that disturbs the status quo

 by changing the relationship of the parties is a judicially inflicted injury.”).

        Defendants respectfully ask this Court to stay the mandate.



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                             CERTIFICATE OF COMPLIANCE
        This response complies with the typeface requirements of Fed. R. App. P. 32

 because it was prepared in a proportionally spaced font (Garamond, 14-point) using

 Microsoft Word 2016.

                                                  s/ Zach West
                                                 ZACH WEST
                          CERTIFICATE OF DIGITAL SUBMISSION
        All required privacy redactions have been made as required by 10th Cir. R. 25.5

 and the ECF Manual. Additionally, this filing was scanned with Crowdstrike v. 6.56

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                                                  s/ Zach West
                                                 ZACH WEST

                                CERTIFICATE OF SERVICE
        I certify that on December 18, 2023, I caused the foregoing to be filed with this

 Court and served on all parties via the Court’s CM/ECF filing system. The seven

 required paper copies, each of which is an exact replica in form and content, will be

 dispatched via commercial carrier for receipt within five business days after the court

 issues a notice that the electronic version is accepted for filing.

                                                  s/ Zach West
                                                 ZACH WEST
